Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 1 of 11
                             Pageid#: 1637
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 2 of 11
                             Pageid#: 1638
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 3 of 11
                             Pageid#: 1639
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 4 of 11
                             Pageid#: 1640
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 5 of 11
                             Pageid#: 1641
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 6 of 11
                             Pageid#: 1642
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 7 of 11
                             Pageid#: 1643
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 8 of 11
                             Pageid#: 1644
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 9 of 11
                             Pageid#: 1645
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 10 of 11
                             Pageid#: 1646
Case 6:07-cr-00031-NKM-mfu   Document 299    Filed 10/23/09   Page 11 of 11
                             Pageid#: 1647
